        ",
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     II1..AO 245B   (Rev. 9/00) Judgment in a Criminal Case
                    Sheet 1
                                                                           fI APR I 3 PI; r: 05
                                              UNITED STATES DISTRICT COURT " '.    .
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                              .' .            '.... ',' ";

                      UNITED STATES OF AMERICA                                     JUDGMENT IN A                C~INAL CASE ~IT'f
                                                                                   (For Offenses Committed On or After November I, 19                ·P.
                                        V.
                    ANTONIO ALVAREZ-RAMIREZ [3]                                    Case Number: IOCR4073-BTM

                                                                                    BRIAN WHITE
                                                                                   Defendant's Attorney
     REGISTRATION NO. 22637298

    D
     THE DEFENDANT:
     j2g pleaded guilty to count(s) I OF THE SUPERSEDING INFORMATION
     o       was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                         Nature of Offense                                                                              Number(s)
8 USC 1324(a)(I)(A)(i)               BRINGING IN AN ILLEGAL ALIEN WITHOUT PRESENTATION AND                                                      Is
and (v)(II)                          AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through _ _..;.4_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
 o                                                          ------------------------------------------------------
      Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is             0 areD dismissed on the motion of the United States.
  [8J Assessment: $ I 00.00 Waived and Remitted.


  j2g Fine waived                                   D   Forfeiture pursuant to order filed ____________ , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 1,2011
                                                                              Date of Imposition of Sentence




                                                                                                                                              10CR4073-BTM
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AO 2458     (Rev. 9iOO) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                               Judgment   Page _ _2_ of        4
DEFENDANT: ANTONIO ALVAREZ-RAMIREZ [3]
 CASE NUMBER: lOCR4073-BTM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SIX (6) MONTHS.




   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:

    o     The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.     Dp·m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D___________________________________________________
           o   as notified by the United States Marshal.
           o    as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             IDIITED STATES MARSHAL


                                                                       By ________~~~~~~~~~~---------
                                                                                          DEPUTY UNITED ST ATES MARSHAL




                                                                                                                      lOCR4073-BTM
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AO 245D       (Rev. 3fl 0) Judgment in a Criminal Case for Revocations
              Sheet 3     Supervised Release
                                                                                                            Judgment-Page   ~           of _ _4:...-_ _
DEFENDANT: ANTONIO ALVAREZ-RAMIREZ [3]
CASE NUMBER: lOCR4073-BTM
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13, 1994.­
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION

  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shaH not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are iJJegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 I I)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                   lOCR4073-BTM
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        AO 245B    (Rev. 9/(0) Judgment in a Criminal Case
                   Sheet 4    Special Conditions
                                                                                                         Judgment-Page   ---L- of _ _4_ ____
        DEFENDANT: ANTONIO ALVAREZ-RAMIREZ [3]
        CASE NUMBER: IOCR4073-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
o Submit person, residence, office or vehicle to a search, conducted by a United Stales Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o Seek and maintain fuIJ time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.

181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegalJy and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                    IOCR4073-BTM
